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subpoenas, SICOR produced numerous price lists setting forth spreads between AWPs and
prices apparently offered to wholesalers, providers and other intermediaries. A review of those
price lists reveals that SICOR has consistently offered hundreds of its drugs and other solutions
to its customers at prices significantly below the published AWP and that the spread was of great

importance to its customers.

149. In addition to marketing the spread, SICOR utilized other impermissible
inducements to stimulate sales of its drugs. These inducements were designed to result in a
lower net cost to the provider while concealing the actual wholesale price beneath a high invoice
price. By utilizing “off-invoice” inducements, such as free goods, SICOR provided purchasers
with substantial discounts meant to gain their patronage while maintaining the fiction of a higher
wholesale price.

150. As set forth above, SICOR’s scheme to inflate its reported AWPs and market the
resulting spread to increase the market share of its drugs and its use of other “off invoice”
rebates and financial inducements to its customers has resulted in excessive overpayments by the
State. The acts of SICOR in reporting false and misleading price information used by Medi-Cal
in setting reimbursement amounts:

(a) Were knowingly committed in order to cause Medi-Cal to pay claims for
the specified SICOR drugs in amounts that substantially exceeded the amounts that should have
been paid according to law.

(b} Were knowingly committed in order to induce SICOR’s customers, and
these acting in concert with them, to select SICOR’s drugs for Medi-Cal recipients rather than
select similar drugs of competitors, or prescribe alternative therapies.

151. The actions by SICOR alleged herein were a substantial factor in causing the
damages that California has sustained as set forth below.

P. SPECIFIC ALLEGATIONS AS TO DEFENDANT SMITHKLINE

152. From on or after January 1, 1994, to the present, SMITHKLINE DEFENDANTS
knowingly caused over ten thousand false claims for reimbursement for SMITHKLINE
DEFENDANTS’ dnig products described herein to be presented to the Medi-Cal program for
payment or approval. SMITHKLINE DEFENDANTS knowingly used or caused the use of false

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statements about the prices of its drug products resulting in Medi-Cal paying grossly excessive,
unreasonable and unlawful amounts for Defendants’ drugs including those specified in this
Section and in Exhibit R, attached herein. This Exhibit lists the drug products’ NDC; label
name; date; AWPs from FDB; CDP; a market price per unit; and the source of that market price.
The wrongful acts committed by SMITHKLINE DEFENDANTS included, but were not limited
to, knowingly making false representations to FDB with knowledge that Medi-Cal used these
reported prices for setting and paying reimbursement amounts on claims for the Defendants’
drugs, and which would cause the claims for such reimbursements to be false. In connection
with reporting a false inflated AWP of $166.00 for SMITHKLINE’s drug Kytril, SMITHKLINE
implemented a plan to offer deep discounts to the oncology supply houses which supplied Kytril
to physicians and clinics. On or about February 9, 1994, SMITHKLINE employee Elizabeth
Posner sent an internal memorandum to Howard Pien regarding the WAC prices for Kytril. The
memorandum recommended that SMITHKLINE provide Kytril to the oncology supply houses
(such as Florida Infusion, OTN, or Oncology Supply) at a 16 2/3% discount off WAC or free
goods equivalent in order to create a profit incentive. In fact, SMITHKLINE did create a
standard discount to all oncology supply houses based on profit received from Medicare and
Medicaid reimbursement.

153. Ina power point presentation on or about February 28, 1994, prior to the launch
of the Kytril Img vial by SMITHKLINE, the “Price Strategy” for the Kytril launch was “AWP is
high enough to provide an attractive reimbursement margin for customers” and “Moderate list
price advantage disguises true customer acquisition cost advantage.” SMITHKLINE employees
created numerous comparisons of reimbursement of SMITHKLINE’s Kytril and GLAXOQ’s
Zofran and distributed them to induce the physicians to purchase Kytril over Zofran, based on
the profit or kickback they would receive in the form of higher reimbursement from Medicare
and Medicaid funds, For example, a SMITHKLINE drug salesman named Heidi Haas
(“HAAS”) gave a health care provider in the Denville, New Jersey area promotional literature
entitled “Cost v. Profit” between March 11, 1994, and February 6, 1995. SMITHKLINE’s
handout advocated that the physician use two SMITHKLINE 1 mg vials of Kytril on three
patients and bill Medicare for three vials of Kytril. SMITHKLINE’s handout further showed

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that the profit received by prescribing physicians for use of its drug Kytril on three patients was
$163.20 and the profit received if its competitor GLAXO’s Zofran was used was $108.00.
HAAS also distributed handouts with a detailed analysis of how its physician customers should
poo} vials of Kytril to obtain the most profit. On or about March 18, 1994, Horace Cook,
Director of Trade Operations at SMITHKLINE, represented to Medical Economics Data (Red
Book) employee, Lynne Handler (“HANDLER”), a false inflated AWP for SMITHKLINE’s
drug Kytril of $166.00, when Kytril’s true price to SMITHKLINE’s customers was
approximately $112.75, as stated in Florida Infusion’s catalog (an insider publication not
available to the Government). COOK obtained HANDLER’s stgnature on a document reporting
the AWP for Kytril of $166.00 and distributed the document to various persons including, but
not limited to, health care providers making claims under Medicare Part B and various States’
Medicaid programs.

154. Inachart created by SMITHKLINE for Kytril oncology supply house margins for
April of 1994, the oncology supply house cost was 12% lower than WAC, creating a profit
margin of 29.6% from Medicare reimbursement. The “Margin” was calculated on the chart by
dividing the difference between AWP and Cost by AWP.

155. During that same time period, SMITHKLINE also offered a “special 8% added
discount” which increased the profit received from Medicare to 35.2%.

156. On or about April 15, 1994, Peg Skelly (““SKELLY”), a SMITHKLINE
employee, sent a letter to Jenie DeKneff, an official of the Texas Department of Health, wherein
SKELLY represented for purposes of Texas Medicaid vendor reimbursement a false inflated
AWP for Kytril, of $166.00 when the price actually charged to SMITHKLINE’s customers was
$112.75.

157. Another example of SMITHKLINE promoting the pooling of vials is, on or about
October 17, 1994, Tom McClean, an employee of SMITHKLINE, prepared a memo entitled
“Kytril Profit Model” and distributed it to other SMITHKLINE employees. The memo was also
distributed to at least one health care provider in the Brunswick, Georgia area between October
17, 1994 and February 6, 1995. The memo compared the Medicare and Medicaid
reimbursement for Kytril and Zofran, promoted pooling the 1mg single dose vials of Kytril, and

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set out a format to market Kytril based upon the spread, the amount of the kickback
SMITHKLINE caused to be paid from Government funds to SMITHKLINE’s customers, the
health care providers. The memo stated that, when using .?mg of 1 mg vial of Kytril, the
average dose when pooling vials, the physician received $81.00 of profit, because the AWP fora
1 mg vial of Kytril was $166.00 and the actual cost of Kytril when pooling | mg vials was an
average of $85.00. McClean’s claim, that costs go down and, therefore, profits to
SMITHKLINE’s customers go up as a result of pooling, was only true if the physician billed
Medicare for full 1 mg vials when only .7 mg of 1 mg vials were used, For example, using two i
mg vials for three patients and billing Medicare for three full 1 mg vials.

158. Ina memorandum regarding the Zoftan “price increase” dated January 11, 1995,
from SMITHKLINE employee Dick Van Thiel (“Van Thiel”) to SMITHKLINE employees Jerry
Karabelas and Howard Pien, SMITHKLINE’s Van Thiel reported, “I believe Glaxo is trying to
provide oncology supply houses the same margins SB offers.” VAN THIEL further stated that
GLAXO raised its “price” or AWP, but offered a 14% rebate to all non-hospital customers,
therefore providing a profit of $52.75 per 32mg dose and a 28% margin to the doctor, whereas
Kytril provided a profit of $49.40 per Img dose and a 30% profit margin to the doctor. Asa
result, VAN THIEL concluded:

This new Glaxo strategy allows an oncologist to make more
money by using Zofran due to higher price but allows a lesser
margin than Kytril by 2%.

I believe the Zofran price increase and across the board discount
for oncology supply houses that match our margins is a clear signal
that Glaxo does not want to compete on price but is willing to
lower price to meet our margins with oncology supply houses.

159. A SMITHKLINE memorandum dated February 25, 1995, showed that, after
GLAXO increased the AWP of Zofran, the profit per vial was $66.03, whereas the profit per vial
for Kytril was $47.05. However, SMITHKLINE’s analysis further calculated the profit per dose.
The profit per dose of Zofran was $52.82 and the profit per dose of Kytril was $70.84. The
calculation of profit per dose was based on a dose of .8 mg with Img full vial reimbursed, while
the remainder of the vial was to be “pooled” by the physician.

160. In an email dated March 25, 1995, from SMITHKLINE employee William

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Chrencik to SMITHKLINE employee Robert Turner regarding the importance of reimbursement

factors in the clinic setting, Chrencik concluded:

1, If an oncologist uses Kytril he makes money.

2. However, if an oncologist uses Zofran he loses money.
Therefore, there is a positive profit impact to the clinic when Kytril is
utilized,

161. SMITHKLINE knew that the prices it reported to Red Book, First Data Bank, the

Texas Department of Health, and others were used to set Medicare and Medicaid reimbursement.

In an internal report entitled “Kytril Market Situation Analysis” created on or about May 17,
1995, a SMITHKLINE employee stated:

Medicare currently reimburses physicians the average wholesaler

price (AWP) for chemotherapeutic agents administered in the

office or clinic. Because AWP is set by the manufacturer and

often does not reflect actual market prices (wholesaler prices are

normally much lower), profit-seeking physicians have a strong

incentive to use whichever agents offer the greatest spread

between actual cost and AWP.

162. SMITHKLINE created computer software programs based on the concept that a
physician can “make money” if he uses Kytril and will “lose money” if he uses Zofran and
distributed the programs to its sales personnel for use in physicians’ offices. SMITHKLINE
designed the programs “to calculate total profits that can be achieved by using Kytml instead of
Zofran.” The program calculated the “Differences in Reimbursement” between Kytril and
Zotran, the “Total Reimbursement” per day and per year, the cost per day and per year, and the
“Difference By Switching to Kytril Per Year.” Furthermore, the program was able to calculate
“profit” based on the percentage of Medicare and/or Medicaid patients the physician treated.
SMITHKLINE entered into rebate agreements with physicians groups such as PRN which
provided for payments of kickbacks. On or about October 16, 1995, David Lichtenstein, Senior
Contract Manager, and Jerry Ghastin, Account Manager, both employees of SMITHKLINE,
offered to Bob Whren, Executive Vice President of Physicians Reliance Network (“PRN”) to
pay a rebate of $11.60 per vial of SMITHKLINE’s Kytril purchased in exchange for the
condition that PRN maintain and market Kytril as the preferred oral and injectable anti-emetic.

Bob Whren on behalf of PRN accepted SMITHKLINE’s offer and SMITHKLINE’s financial
incentives on October 25, 1995, and SMITHKLINE’s David Lichtenstein and Jerry Ghastin also

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signed the SMITHKLINE/PRN letter agreement on October 31, 1995. On or about April 4,
1996, SMITHKLINE’s Jerry Ghastin prepared a utilization report for PRN, comparing PRN’s
utilization of SMITHKLINE’s Kytril, versus its competitor GLAXO’s Zofran. The report
showed that SMITHKLINE’s financial inducements dramatically increased utilization of
SMITHKLINE’s Kytril and at that time Kytril had 82.14% of the patient market share.

163. Although the true price of SMITHKLINE’s drug Kytril was decreasing in the
market place, as evidenced by SMITHKLINE’s increase of the rebate paid to its customers who
prescribed Kytril and the guaranteed price of $102.00, SMITHKLINE represented to the
Government that the price for Kytril was increasing, by reporting a false inflated AWP of
$173.95 on or about March of 1996.

164. Van Thiel and other SMITHKLINE employees strategized, analyzed, and
implemented the fraud scheme to provide larger and larger kickbacks to the physicians to induce
more sales of Kytril. In response to GLAXO’s false inflation of Zofran’s AWP to $244.43 on
March 7, 1996, SMITHKLINE reported a new false inflated AWP for Kytril of $173.95 on or
about March 26, 1996.

165. Van Thiel and SMITHKLINE employee Rich Francovitch analyzed the AWP
increases in a power point presentation on or about June 6, 1996. The power point presentation
showed calculations of “profit” for both Kytril and Zofran as a result of the increases. The
power point also shows that the “profit” or kickback was being paid for by Medicare funds.
SMITHKLINE actively encouraged physicians to dose Kytril based upon weight and then to
pool the vials of Kytril to receive greater reimbursement. Ina report entitled “Kyitril Situation
Analysis 1996,” under the heading “‘Opportunities/Threats” a SMITHKLINE employee stated:

Physicians are not taking advantage of Kytril’s full economic
benefit because a large percentage of them are still giving an entire
lmg vial to each patient rather than dosing based on weight. SB is
encouraging weight-based dosing - a move that could save
customers 20-30%, and offset the effects of Zofran down-dosing.
By lowering Kyrril’s effective cost per dose, SB expects to
increase total usage, offsetting the 20%-30% reduction in dose. .. .

166. Ina letter agreement dated on or about June 26, 1996, SMITHKLINE’s David
Lichtenstein and Jerry Ghastin offered to amend the SMITHKLINE/PRN Kytril Agreement

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dated October 16, 1995 effective July 1, 1996, by increasing PRN’s rebate to $20.46 per vial and
guaranteeing a net price of $102.00 for SMITHKLINE’s drug Kytril. The terms of the
agreement were accepted by PRN’s Bob Whren on July 8, 1996, PRN received rebates from
SMITHKLINE for the third quarter of 1996 totaling $235,658.28 and for the fourth quarter of
1996 totaling $276,946.56.

167. The SMITHKLINE prepared a document entitled “ORAL ANTI-EMETICS
COVERAGE EFFECTIVE 1/1/98” showing the difference in reimbursements when using its
drug, Kytril, as compared to its competitor’s drug, Zofran. SMITHKLINE’s calculations for
both drugs were based on each drug’s AWP. SMITHKLINE concluded, “All parties, the payer,
patient and the physician are better off using Kytril Tablets.”

168. The acts of the SMITHKLINE DEFENDANTS in reporting false and misleading
price information, used by Medi-Cal in setting reimbursement amounts:

(a) Were knowingly committed in order to cause Medi-Cal to pay claims for
the specified SMITHKLINE DEFENDANTS’ drugs in amounts that substantially exceeded the
amounts that otherwise should have been paid according to law.

(b) Were knowingly committed in order to induce the SMITHKLINE
DEFENDANTS?’ customers, and those acting in concert with them, to select the SMITHKLINE
DEFENDANTS?’ drugs for Medi-Cal recipients, rather than select similar drugs of competitors,
or prescribe alternative therapies.

169. The actions by the SMITHKLINE DEFENDANTS were a substantial factor in
causing the damages that California has sustained as set forth below.

Q. SPECIFIC ALLEGATIONS AS TO DEFENDANT WARRICK

170, From on or after January 1, 1994, to the present, Defendant WARRICK
knowingly caused over four million false claims for reimbursement for WARRICK’s drug
products described herein to be presented to the Medi-Cal program for payment or approval.
Defendant WARRICK knowingly used or caused the use of false statements about the prices of
its drug products resulting in Medi-Cal paying grossly excessive, unreasonable and unlawful
amounts for Defendant’s drugs, including those specified in this Section and in Exhibit K
attached herein. This Exhibit lists the drug products’ NDC; label name; date; AWPs from FDB;

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CDP; a market price per unit; and the source of that market price. The wrongful acts committed
by WARRICK included, but were not limited to, knowingly making false representations to FDB
with knowledge that Medi-Cal used these reported prices for setting and paying reimbursement
amounts on claims for the Defendant’s drugs, and which would cause the claims for such
reimbursements to be false. WARRICK has reported and continues to report an inflated AWP
and WAC which in turn affect Federal Upper Limit prices and cause over-reimbursement of their
drugs California. WARRICK has taken the position in this litigation that they initially reported
an AWP at ten to twenty percent below the equivalent brand product’s AWP, and that AWP
remained constant over time. With respect to WARRICK’s drugs, however, there has been a
decline in real wholesale prices as the generic drugs remain on the market over time. This
decline in price has not been passed on to the consumer or to California by WARRICK.

171. One of WARRICK’s customers asked WARRICK if they could be released from
contractual obligations to deal with invoices containing arbitrary, artificially inflated and false
price information which served no legitimate business purpose and which caused unnecessary,
costly and meaningless bookkeeping and accounting work to be done. Instead, the customer
asked to receive invoices in the future which more accurately represented the actual transactions
reflected by the respective invoices.

172, WARRICK had significant spreads on its drugs, for example the Albuterol
Inhaler (NDC 59930156001). In comparing wholesale prices of the inhaler in second quarter
2001 to the price reimbursed by DHS, up to 71% of the DHS price paid for the inhaler is spread.
In other words DHS’ price paid to the provider for the WARRICK inhaler is 351% of the
contract price paid by providers.

173. SCHERING-PLOUGH CORP. (WARRICK’s parent company) attempted to gain
market share by increasing the spread between reported price and actual price for its drugs.
Parent company SCHERING-PLOUGH CORP. has admitted that its goal is to increase
utilization and expand sales. SCHERING-PLOUGH CORP. and WARRICK were motivated to
dominate the generic market through pricing flexibility in marketing new generic drugs,
SCHERING-PLOUGH CORP. has admitted that it could reduce fraud by lowering the AWP on
their products.

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174. The Defendants WARRICK and SCHERING-PLOUGH CORP. entered into
specific agreements and contracts with one or more telemarketing companies, including TMS
(a/k/a Access Worldwide) a company located in Florida, but doing business by making
telephonic contacts in California. As part of telephone sales pitches, telemarketers would
advertise and promote WARRICK and SCHERING-PLOUGH CORP. products in part by
marketing the spread and urging purchases of these products based upon the large and profitable
spread between the net price the pharmacies would pay for the drugs and the high reimbursement
amount those pharmacies would receive, known as the “profit message” and/or Return on
Investment (“ROY”), among other phrases.

175. The acts of Defendant WARRICK in reporting false and misleading price
information used by Medi-Cal in setting reimbursement amounts:

(a) Were knowingly committed in order to cause Medi-Cal to pay claims for
the specified WARRICK drugs in amounts that substantially exceeded the amounts that should
have been paid according to law.

(b) Were knowingly committed in order to induce Defendant WARRICK’s
customers, and those acting in concert with them, to select Defendant WARRICK’s drugs for
Medi-Cal recipients rather than select similar drugs of competitors, or prescribe alternative
therapies,

176. The actions by Defendant WARRICK were a substantial factor in causing the
damages that California has sustained as set forth below.

VIL.
CALIFORNIA LAW VIOLATED BY DEFENDANTS

177. At all times relevant and material to this action, each Defendant “knew” or acted
“knowingly,” which terms are defined in California Government Code section 12650,
subdivision (b)(2), in causing the making, presenting, or submission of false claims. In that
respect, cach Defendant acted:

(a) With actual knowledge of the information; or

(b) In deliberate ignorance of the truth or falsity of the information; or

(c) With reckless disregard of the truth or falsity of the information.

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178. Atall times relevant and material to this action, each Defendant “caused” the
making, presenting, or submitting of false claims, as that term is defined in California
Government Code section 12651, in causing:

(a) The presentation of false claims for payment or approval by Medi-Cal;
and,

(b) The making and using of false statements and/or records for the purpose
of getting false claims approved or paid by Medi-Cal. At all times relevant and material hereto,
each Defendant knew that its conduct would cause Medi-Cal to pay claims for the specified
prescription drugs in amounts exceeding that contemplated by applicable law.

179, Each Defendant “knowingly” reported or caused to be reported false and inflated
AWPs, DPs, and WACs to FDB, Red Book, and the other pricing services by systematically
concealing or otherwise failing to report decreases in the prices of the specified prescription
drugs.

180, Atall times relevant and material hereto, each Defendant knew that its conduct
was in violation of California Welfare and Institutions Code section 14107.2, which prohibits
receiving remuneration, including, but not restricted to, any kickback, bribe, or rebate, directly or
indirectly, overtly or covertly, in cash or in valuable consideration of any kind in return for the
purchasing, ordering, or arranging for or recommending the purchasing, or ordering of any
goods, service or merchandise for which payment may be made, in whole or in part, under the
Medi-Cal Program.

VIII.
CAUSES OF ACTION AND DAMAGES

FIRST CAUSE OF ACTION

CALIFORNIA FALSE CLAIMS ACT, CAUSING PRESENTATION
OF FALSE CLAIMS TO CALIFORNIA

California Government Code section 12651, subdivision (a)(1)
181. The State and Qui Tam Plaintiff re-allege and incorporate by reference all of the
previous allegations.
182.  Atall times relevant and material to this First Amended Complaint in

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Intervention, Defendants ABBOTT LABORATORIES, INC.; AMGEN, INC.; ARMOUR
PHARMACEUTICAL CO.; AVENTIS BEHRING, L.L.C.; AVENTIS PHARMACEUTICALS,
INC.; B. BRAUN MEDICAL, INC.; B. BRAUN OF AMERICA, INC.; BAXTER
HEALTHCARE CORP.; BEDFORD LABORATORIES; BEN VENUE LABORATORIES,
INC.; BOEHRINGER INGELHEIM CORP.; BOEHRINGER INGELHEIM
PHARMACEUTICALS INC.; BRISTOL-MYERS SQUIBB COMPANY a/k/a BRISTOL-
MYERS ONCOLOGY DIVISION/HIV PRODUCTS; C.H. BOEHRINGER SOHN
GRUNDSTUCKSVERWALTUNG GMBH & CO. KG; DEY, INC.; DEY, L.P.; EMD, INC.;
GENEVA PHARMACEUTICALS INC.; GENSIA INC.; GENSIA SICOR, INC.; GLAXO
WELLCOME INC. f/k/a BURROUGHS WELLCOME CO.; GLAXOSMITHKLINE PLC;
HOECHST MARION ROUSSEL, INC.; IMMUNEX CORP.; LIPHA, S.A.; McGAW, INC.;
MERCK KGaA; MYLAN LABORATORIES, INC.; MYLAN PHARMACEUTICALS, INC.;
NOVARTIS AG; PHARMA INVESTMENT, LTD.; ROXANE LABORATORIES, INC;
SANDOZ, INC.; SCHERING-PLOUGH CORP.; SICOR, INC. f/k/a GENSIA
PHARMACEUTICALS, INC.; SMITHKLINE BEECHAM CORPORATION d/b/a
GLAXOSMITHKLINE; TEVA PHARMACEUTICAL INDUSTRIES, LTD.; WARRICK
PHARMACEUTICALS CORP.; Z.L.B. BEHRING, knowingly [as defined in California
Government Code section 12650, subdivision (b}(2}] caused false claims for payment or
approval, in the form of false Medi-Cal Cost information for the drugs specified herein to be
presented to officers or employees of the State. As a result, the State paid out as reimbursement
to the Medi-Cal providers of the specified prescription drugs sums of money grossly in excess of
the amounts contemplated by law, resulting in great financial loss to the State.

183. Defendants’ conduct violated Government Code section 12651, subdivision (a)(1)
as set forth in this Count, and was a substantial factor in causing the State to sustain damages in
an amount according to proof pursuant to California Government Code section 12651,
subdivision (a}.

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SECOND CAUSE OF ACTION

CALIFORNIA FALSE CLAIMS ACT, CAUSING FALSE RECORDS
OR STATEMENTS TO BE MADE OR USED TO GET
FALSE CLAIMS PAID OR APPROVED BY CALIFORNIA

California Government Code section 12651, subdivision (a}(2)

184. The State and Qui Tam Plaintiff re-allege and incorporate by reference all of the
previous allegations.

185,  Atall times relevant to this First Amended Complaint in Intervention, Defendants
ABBOTT LABORATORIES, INC.; AMGEN, INC.; ARMOUR PHARMACEUTICAL CoO.;
AVENTIS BEHRING, L.L.C.; AVENTIS PHARMACEUTICALS, INC.; B. BRAUN
MEDICAL, INC.; B. BRAUN OF AMERICA, INC.; BAXTER HEALTHCARE CORP.;
BEDFORD LABORATORIES; BEN VENUE LABORATORIES, INC.; BOEHRINGER
INGELHEIM CORP.; BOEHRINGER INGELHEIM PHARMACEUTICALS INC.; BRISTOL-
MYERS SQUIBB COMPANY a/k/a BRISTOL-MYERS ONCOLOGY DIVISION/HIV
PRODUCTS; C.H. BOEHRINGER SOHN GRUNDSTUCKSVERWALTUNG GMBH & CO.
KG; DEY, INC.; DEY, L.P.; EMD, INC.; GENEVA PHARMACEUTICALS INC.; GENSIA
INC.; GENSIA SICOR, INC.; GLAXO WELLCOME INC. f/k/a BURROUGHS WELLCOME
CO.; GLAXOSMITHKLINE PLC; HOECHST MARION ROUSSEL, INC.; IMMUNEX
CORP.; LIPHA, S.A.; McGAW, INC.; MERCK KGaA; MYLAN LABORATORIES, INC.;
MYLAN PHARMACEUTICALS, INC.; NOVARTIS AG; PHARMA INVESTMENT, LTD.,;
ROXANE LABORATORIES, INC.; SANDOZ, INC.; SCHERING-PLOUGH CORP.; SICOR,
INC. f/k/a GENSIA PHARMACEUTICALS, INC.; SMITHKLINE BEECHAM
CORPORATION d/b/a GLAXOSMITHKLINE; TEVA PHARMACEUTICAL INDUSTRIES,
LTD.; WARRICK PHARMACEUTICALS CORP.,; Z.L.B. BEHRING, knowingly [as defined in
California Government Code section 12650, subdivision (b)(2)] caused false records or
statements to be made or used to get false claims to be paid or approved by the State, in that
Defendants caused false records or statements of the Medi-Cal Cost of Defendants’ specified
prescription drugs to be used by the State to pay or approve claims presented by the providers

and suppliers of Defendants’ specified prescription drugs. These paid or approved claims were

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grossly in excess of the amounts contemplated by law, resulting in great financial loss to the
State.

186. Defendants’ conduct violated Government Code section 12651, subdivision (a)(2)
as set forth in this Count, and was a substantial factor in causing the State to sustain damages in
an amount according to proof pursuant to California Government Code section 12651,
subdivision (a}.

THIRD CAUSE OF ACTION

CALIFORNIA FALSE CLAIMS ACT, BENEFICIARIES OF

INADVERTENT SUBMISSIONS OF FALSE CLAIMS TO CALIFORNIA,

SUBSEQUENTLY DISCOVER THE FALSITY OF THE CLAIMS, AND FAIL TO
DISCLOSE THE FALSE CLAIMS TO CALIFORNIA WITHIN REASONABLE
TIME AFTER DISCOVERY OF THE FALSE CLAIMS
California Government Code section 12651, subdivision (a)(8)

187. The State and Qui Tam Plaintiff re-allege and incorporate by reference all of the
previous allegations.

188. At all times relevant to this First Amended Complaint in Intervention, Defendants
ABBOTT LABORATORIES, INC.; AMGEN, INC.; ARMOUR PHARMACEUTICAL CoO:.:
AVENTIS BEHRING, L.L.C.; AVENTIS PHARMACEUTICALS, INC.; B. BRAUN
MEDICAL, INC.; B. BRAUN OF AMERICA, INC.; BAXTER HEALTHCARE CORP.;
BEDFORD LABORATORIES; BEN VENUE LABORATORIES, INC.; BOEHRINGER
INGELHEIM CORP.; BOEHRINGER INGELHEIM PHARMACEUTICALS INC.; BRISTOL-
MYERS SQUIBB COMPANY a/k/a BRISTOL-MYERS ONCOLOGY DIVISION/HIV
PRODUCTS; C.H. BOEHRINGER SOHN GRUNDSTUCKSVERWALTUNG GMBH & CO.
KG; DEY, INC.; DEY, L.P.; EMD, INC.; GENEVA PHARMACEUTICALS INC,; GENSIA
INC.; GENSIA SICOR, INC.; GLAXO WELLCOME INC. f/k/a BURROUGHS WELLCOME
CO.; GLAXOSMITHKLINE PLC; HOECHST MARION ROUSSEL, INC.; IMMUNEX
CORP.; LIPHA, S.A.; McGAW, INC.; MERCK KGaA; MYLAN LABORATORIES, INC.;
MYLAN PHARMACEUTICALS, INC.; NOVARTIS AG; PHARMA INVESTMENT, LTD.;
ROXANE LABORATORIES, INC.; SANDOZ, INC.; SCHERING-PLOUGH CORP.; SICOR,
INC. f/k/a GENSIA PHARMACEUTICALS, INC.; SMITHKLINE BEECHAM
CORPORATION d/b/a GLAXOSMITHKLINE; TEVA PHARMACEUTICAL INDUSTRIES,

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LTD.; WARRICK PHARMACEUTICALS CORP.; Z.L.B. BEHRING, knowingly [as defined in (

California Government Code section 12650, subdivision (b)(2)] were beneficiaries of inadvertent
submissions of false claims to the State, subsequently discovered the falsity of the claims, and
failed to disclose the false claims to the State within reasonable times after discovery of the false
claims. On learning that Medi-Cal was paying inflated reimbursement amounts based upon the
Defendants’ falsely inflated reports of price and costs, and thereby paying false claims for the
Defendants’ drugs, the Defendants failed to disclose the false claims to the state within a |
reasonable time after discovery of the false claims. The Defendants’ failure to disclose to the
State, as required by Section 12651(a)(8), caused great financial loss to the State. |

189, Defendants’ conduct violated Government Code section 12651, subdivision (a)(8)
as set forth in this Count, and was a substantial factor in causing the State to sustain damages in
an amount according to proof pursuant to California Government Code section 12651,
subdivision (a).

FOURTH CAUSE OF ACTION

CALIFORNIA FALSE CLAIMS ACT, CAUSING PRESENTATION
OF FALSE CLAIMS; ILLEGAL REMUNERATION

California Government Code section 12651, subdivision (a)(1)

190. The State and Qui Tam Plaintiff re-allege and incorporate by reference all of the
previous allegations.

191. Atall times relevant to this First Amended Complaint in Intervention, Defendants
ABBOTT LABORATORIES, INC.; AMGEN, INC.; ARMOUR PHARMACEUTICAL CO.;
AVENTIS BEHRING, L.L.C.; AVENTIS PHARMACEUTICALS, INC.; B. BRAUN
MEDICAL, INC.; B. BRAUN OF AMERICA, INC.; BAXTER HEALTHCARE CORP.;
BEDFORD LABORATORIES; BEN VENUE LABORATORIES, INC.; BOEHRINGER
INGELHEIM CORP.; BOEHRINGER INGELHEIM PHARMACEUTICALS INC.; BRISTOL-
MYERS SQUIBB COMPANY a/k/a BRISTOL-MYERS ONCOLOGY DIVISION/HIV
PRODUCTS; C.H. BOEHRINGER SOHN GRUNDSTUCKSVERWALTUNG GMBH & CO. !
KG; DEY, INC.; DEY, L.P.; EMD, INC.; GENEVA PHARMACEUTICALS INC.; GENSIA
INC.; GENSIA SICOR, INC.; GLAXO WELLCOME INC. f/k/a BURROUGHS WELLCOME |

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CO.; GLAXOSMITHKLINE PLC; HOECHST MARION ROUSSEL, INC.; IMMUNEX
CORP.; LIPHA, 8.A.; McGAW, INC.; MERCK KGaA; MYLAN LABORATORIES, INC.;
MYLAN PHARMACEUTICALS, INC.; NOVARTIS AG; PHARMA INVESTMENT, LTD.;
ROXANE LABORATORIES, INC.; SANDOZ, INC.; SCHERING-PLOUGH CORP.; SICOR,
INC. f/k/a GENSIA PHARMACEUTICALS, INC.; SMITHKLINE BEECHAM
CORPORATION d/b/a GLAXOSMITHKLINE; TEVA PHARMACEUTICAL INDUSTRIES,
LTD.; WARRICK PHARMACEUTICALS CORP.; Z.L.B. BEHRING, knew that the prices
charged to their customers for the specified pharmaceuticals were significantly reduced in
amount from the prices and costs represented by the Defendants and upon which the Defendants
knew Medi-Cal claims would be approved and paid. Accordingly, the Defendants have each
knowingly {as defined in California Government Code section 12650, subdivision (b)(2)] offered
or paid, or caused to be offered or paid, directly or indirectly, overtly or covertly, in cash or in
kind, remuneration to their customers in the form of price reductions and/or in the form of illegal
remuneration from Medi-Cal to induce them to purchase, order or arrange or to recommend
purchasing, arranging or ordering the drugs named herein, and other drugs, for which the
Defendants knew that payment would be made, in whole or in part, by Medi-Cal. Such financial
inducement is specifically prohibited by California Welfare and Institutions Code section
14107,.2. These paid or approved claims were grossly in excess of the amounts contemplated by
law, resulting in great financial loss to the State.

192. The Defendants knew that Medi-Cal would not pay or approve claims for the
drugs named herein, and other drugs, if it were disclosed to Medi-Cal that said claims were for
amounts that included remuneration prohibited by California Welfare and Institutions Code
section 14107,2,

193. The Defendants also knew that their customers, in presenting claims for the drugs
named herein and other drugs to Medi-Cal, would not and did not disclose that the claim
amounts included the remuneration prohibited by California Welfare and Institutions Code
section 14107.2.

194. The Defendants’ knowing [as defined in California Government Code section

12650, subdivision (b)(2)] and willful actions in arranging for their customers to receive

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remuneration prohibited by California Welfare and Institutions Code section 14107.2, in causing
the omission of material information from the claims, and in causing the failure to properly
disclose and appropriately reflect the remuneration in the claims, the claims for the drugs named
herein, and other drugs, to be false claims and caused the claims to be presented to Medi-Cal for
payment and approval in violation of California Government Code section 12651, subdivision
(a)(1).

195. Defendants’ conduct violated Government Code section 12651, subdivision (a)(1)
as set forth in this Count, and was a substantial factor in causing the State to sustain damages in
an amount according to proof pursuant to California Government Code section 12651,
subdivision (a).

FIFTH CAUSE OF ACTION

CALIFORNIA FALSE CLAIMS ACT,

CAUSING FALSE RECORDS OR STATEMENTS TO BE MADE OR USED
TO GET FALSE CLAIMS PAID OR APPROVED BY CALIFORNIA;
ILLEGAL REMUNERATION
California Government Code section 12651, subdivision (a)(2)

196. The State and Qui Tam Plaintiff re-allege and incorporate by reference all of the
previous allegations,

197. At all times relevant to this First Amended Complaint in Intervention, Defendants
ABBOTT LABORATORIES, INC.; AMGEN, INC.; ARMOUR PHARMACEUTICAL CO,;
AVENTIS BEHRING, L.L.C.; AVENTIS PHARMACEUTICALS, INC.; B. BRAUN
MEDICAL, INC.; B. BRAUN OF AMERICA, INC.; BAXTER HEALTHCARE CORP.;
BEDFORD LABORATORIES; BEN VENUE LABORATORIES, INC.; BOEHRINGER
INGELHEIM CORP.; BOEHRINGER INGELHEIM PHARMACEUTICALS INC.; BRISTOL-
MYERS SQUIBB COMPANY a/k/a BRISTOL-MYERS ONCOLOGY DIVISION/HIV
PRODUCTS; C.H. BOEHRINGER SOHN GRUNDSTUCKSVERWALTUNG GMBH & CO.
KG; DEY, INC.; DEY, L.P.; EMD, INC.; GENEVA PHARMACEUTICALS INC.; GENSIA
INC.; GENSIA SICOR, INC.; GLAXO WELLCOME INC. f/k/a BURROUGHS WELLCOME
CO.; GLAXOSMITHKLINE PLC; HOECHST MARION ROUSSEL, INC.; IMMUNEX
CORP.; LIPHA, S.A.; McGAW, INC.; MERCK KGaA; MYLAN LABORATORIES, INC.;
MYLAN PHARMACEUTICALS, INC.; NOVARTIS AG; PHARMA INVESTMENT, LTD.;

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ROXANE LABORATORIES, INC.; SANDOZ, INC.; SCHERING-PLOUGH CORP.; SICOR,
INC. fik/a GENSIA PHARMACEUTICALS, INC.; SMITHKLINE BEECHAM
CORPORATION d/b/a GLAXOSMITHKLINE; TEVA PHARMACEUTICAL INDUSTRIES,
LTD.; WARRICK PHARMACEUTICALS CORP.; Z.L.B. BEHRING, knew that the prices
charged to their customers for the drugs named herein, and other drugs, were significantly
reduced in amount from the prices and costs represented by the Defendants and upon which the
Defendants knew Medi-Cal claims would be approved and paid. Accordingly, the Defendants
have each knowingly {as defined in California Government Code section 12650, subdivision
{b)(2)] offered or paid, or caused to be offered or paid, directly or indirectly, overtly or covertly,
in cash or in kind, remuneration to their customers in the form of price reductions and/or in the
form of illegal remuneration from Medi-Cal to induce them to purchase, order or arrange or to
recommend purchasing, arranging or ordering the drugs named herein, and other drugs, for
which the Defendants knew that payment would be made, in whole or in part, by Medi-Cal.
Such financial inducement is specifically prohibited by California Welfare and Institutions Code
section 14107.2, These paid or approved claims were grossly in excess of the amounts
contemplated by law, resulting in great financial loss to the State.

198. The Defendants knew that Medi-Cal would not pay or approve claims for the
drugs named herein, and other drugs, if it were disclosed to Medi-Cal that said claims were for
amounts that included remuneration prohibited by California Welfare and Institutions Code
section 14107.2.

199. The Defendants also knew that their customers, in presenting claims for the drugs
named herein, and other drugs, to Medi-Cal, would not and did not disclose that the claim
amounts included the remuneration prohibited by California Welfare and Institutions Code
section 14107.2,

200. The Defendants’ knowing [as defined in California Government Code section
12650, subdivision (b)(2)] and willful actions in arranging for their customers to receive
remuneration prohibited by California Welfare and Institutions Code section 14107.2, in causing
the omission of material information from the claims, and in causing the failure to properly

disclose and appropriately reflect the remuneration in the claims, caused false records or

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statements to be made and used to get false claims paid or approved by the State for the drugs
named herein, and other drugs. The Defendants’ actions herein caused said false records or
statements to be made and used as prohibited by California Government Code section 12651,
subdivision (a)(2).

201. Defendants’ conduct violated Government Code section 12651, subdivision (a)(2)
as set forth in this Count, and was a substantial factor in causing the State to sustain damages in
an amount according to proof pursuant to California Government Code section 12651,
subdivision (a).

IX.
JURY DEMAND

202. The State and Qui Tam Plaintiff respectfully request a trial by jury as to all issues

so triable.
X,
PRAYER FOR RELIEF

WHEREFORE, the State and the Qui Tam Plaintiff demand:

1. That judgment be entered in their favor and against Defendants ABBOTT
LABORATORIES, INC.; AMGEN, INC.; ARMOUR PHARMACEUTICAL CO.; AVENTIS
BEHRING, L.L.C., AVENTIS PHARMACEUTICALS, INC.; B. BRAUN MEDICAL, INC.; B.
BRAUN OF AMERICA, INC.; BAXTER HEALTHCARE CORP.; BEDFORD
LABORATORIES; BEN VENUE LABORATORIES, INC.; BOEHRINGER INGELHEIM
CORP.; BOEHRINGER INGELHEIM PHARMACEUTICALS INC.; BRISTOL-MYERS
SQUIBB COMPANY a/k/a BRISTOL-MYERS ONCOLOGY DIVISION/HIV PRODUCTS;
C.H. BOEHRINGER SOHN GRUNDSTUCKSVERWALTUNG GMBH & CO. KG; DEY,
INC.; DEY, L.P.; EMD, INC., GENEVA PHARMACEUTICALS INC.; GENSIA INC.;
GENSIA SICOR, INC.; GLAXO WELLCOME INC. f/k/a BURROUGHS WELLCOME Co.:
GLAXOSMITHKLINE PLC; HOECHST MARION ROUSSEL, INC.; IMMUNEX CORP:;
LIPHA, S.A.; McGAW, INC.; MERCK KGaA; MYLAN LABORATORIES, INC.; MYLAN
PHARMACEUTICALS, INC.; NOVARTIS AG; PHARMA INVESTMENT, LTD.; ROXANE
LABORATORIES, INC.; SANDOZ, INC.; SCHERING-PLOUGH CORP., SICOR, INC. fik/a

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GENSIA PHARMACEUTICALS, INC.; SMITHKLINE BEECHAM CORPORATION d/b/a
GLAXOSMITHKLINE; TEVA PHARMACEUTICAL INDUSTRIES, LTD.; WARRICK
PHARMACEUTICALS CORP.; Z.L.B. BEHRING, with judgment to be entered against said
Defendants, and each of them, for the amount of damages to Medi-Cal arising from claims for
their specified prescription drugs and all other drugs as to which said Defendants engaged in
substantially similar misconduct:
(a) On the First Cause of Action (California False Claims Act; Causing
Presentation of False Claims to California) damages as provided by California Government Code
section 12651, subdivision (a) in the amount of:
(i) Triple the amount of the State’s damages;
(ii) Civil penalties of Ten Thousand Dollars ($10,000.00) for each
false claim;
(iii) | Recovery of costs, attorneys’ fees and expenses;
(iv) Such other and further relief as the Court deems just and proper.
(b) On the Second Cause of Action (California False Claims Act; Causing
False Records or Statements To Be Made or Used To Get False Claims Paid or Approved By
California) damages as provided by California Government Code section 12651, subdivision (a)
in the amount of:
(i) Triple the amount of the State’s damages;
(ii) Civil penalties of Ten Thousand Dollars ($10,000.00) for each
false claim;
(iii) | Recovery of costs, attorneys’ fees and expenses;
(iv) Such other and further relief as the Court deems just and proper.
(c) On the Third Cause of Action (California False Claims Act; Beneficiaries
of Inadvertent Submissions of False Claims to California, Subsequently Discover the Falsity of
the Claims, and Fail to Disclose the False Claims to California Within Reasonable Time after
Discovery of the False Claims) damages as provided by California Government Code section
12651, subdivision (a) in the amount of:
(i) Triple the amount of the State’s damages;

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(i) Civil penalties of Ten Thousand Dollars ($10,000.00) for each
false claim;
(iii) Recovery of costs, attorneys’ fees and expenses;
(iv) | Such other and further relief as the Court deems just and proper.
(d) On the Fourth Cause of Action (California False Claims Act; Causing
Presentation of False Claims; Illegal Remuneration) damages as provided by California
Government Code section 12651, subdivision (a) in the amount of:
(i) Triple the amount of the State’s damages;
(ii) Civil penalties of Ten Thousand Dollars ($10,000.00) for each
false claim;
(iii) | Recovery of costs, attorneys’ fees and expenses;
(iv) Such other and further relief as the Court deems just and proper.
(e) On the Fifth Cause of Action (Causing False Records or Statements to Be
Made or Used to Get False Claims Paid or Approved by California; Illegal Remuneration)

damages as provided by California Government Code section 1265 1, subdivision (a) in the

amount of:
(a) Triple the amount of the State’s damages;
(ii) Civil penalties of Ten Thousand Dollars ($10,000.00) for each
false claim;
(iii) | Recovery of costs, attorneys’ fees and expenses;
(iv) | Such other and further relief as the Court deems just and proper.
2. Further, the Qui Tam Plaintiff, on its behalf, requests that it receive such

maximum amount as permitted by law, of the proceeds of this action or settlement of this action
collected by the State, plus an amount for reasonable expenses incurred, plus reasonable
attorneys’ fees and costs of this action. The Qui Tam Plaintiff requests that its percentage be
based upon the total value recovered, including any amounts received from individuals or
entities not parties to this action.
Dated: August 24, 2005

BILL LOCKYER, Attomey General

of the State of California

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On Behalf of the Qui Tam Plaintiff

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CERTIFICATE OF SERVICE
I, BRIAN V. FRANKEL, hereby certify that on August 24, 2005, I caused a true and
correct copy of the foregoing, FIRST AMENDED COMPLAINT IN INTERVENTION FOR
MONEY DAMAGES AND CIVIL PENALTIES FOR VIOLATIONS OF THE
CALIFORNIA FALSE CLAIMS ACT, WITH EXHIBITS A THROUGH R (all Exhibits
except L are redacted), to be served on all counsel of record via electronic service pursuant to

Paragraph 11 of Case Management Order No. 2, by sending a copy to Verilaw Technologies for

posting and notification to all parties.

Dated: August 24, 2005 Va y tal \
+

BRIAN V. FRANKEL

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